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DRAFT COMPLAINT
ATTORNEY WORK PRODUCT
May 4,2O22
                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORI(



JANE DOE,
                                                                  CIVL ACTION         NO.:
                 Plaintiff,

             v                                               DEMAND F'OR JURY TRIAL

THE NATIONAL RAMAH
COMMISSION, INC., CAMP RAMAH'
and RABBI ETHAN LINDEN, in his
individual capacity,

                 Defendants.



                                           COMPLAINT
        Plaintiff Jane Doeol by and through her undersigned counsel, brings this Complaint

against Defendants The National Ramah Commission, Inc. ("Ramah Commission"), Camp

Ramah in the Berkshires ("Camp Ramah") (together with the Ramah Commission, o'Ramah"),

and Rabbi Ethan Linden ("Linden"), in his individual capacity (collectivelyo "Defendants"), for

damages and injunctive relief under Title     IX of the Education Amendments of 1972,20 U.S.C.

$$ 1681-1688 ("Title    IX"), the New York    State Human Rights Law       ('NYSHRL"), negligence

and negligent supervision under New York common law, and other related claims.




                                L       PRELIMINARY STATEMENT




          I Jane Doe
                     is a pseudonym for Plaintiffls true name. Plaintifls identity has been protected
because she was a minor during the time of the underlying incident and due to the sensitive nature of the
facts of this case. Plaintiff s identity is known to Defendants.
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          1.     Plaintiff Jane Doe is a young female who attended Camp Ramah in the Berkshires

as a   minor in July and August 2018, and had also attended Camp Ramah in the Berkshires during

the summers of 2015, 2016 and 2017. While attending Camp Ramah, Plaintiff was under the

substantial and possibly, full control of Camp Ramah and Linden.

         2.      The hours she was to be awake were controlled by the Defendants.

         3.      The activities that were available for the Plaintiff to participate during her waking

huurs were uuntrolled by the Defendauts.

         4.      The location of the Plaintiff during her time at the camp were under the direct

control of the Defendants.

          5,     lmportantly, the other campers with whom Plaintiff came into contact with, and

who were in the same location and participated in the same activities as Plaintiff, were also under

the control of the Defendants.

          6.     During her time at Camp Ramah, Plaintiff was the victim of sexual assault by a

male camper, John Roe,2 which occurred while she was sleeping.

          7.     Immediately thereafter, Rabbi Linden, the Director of Camp Ramah, was

informed that Plaintiff had been sexually assaulted by a male camper. Despite having actual

knowledge of the sexual assault of a minor female camper by a minor male camper, Camp

Ramah and Linden acted with deliberate indifference and failed to follow each of these standard

camp protocol, as set out by the American Camp Association, which requires, inter alia, (i) that

incidents ofsexual abuse be reportedto the authorities for investigation, (ii) that the perpetrator

be isolated or removed from the camp, and      (iii) that the family of the victim   be informed

immediately.


          2
         John Roe is a pseudonym for the minor male camper who sexually assaulted      Plaintiff. His name
is known to Defendants or can bc rcvcalcd to thcm.


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         8.       Unfortunately, this was not an isolated incident. There is a history of improper

and inappropriate sexual incidents against female campers at Camp Ramah during the time that

Defendant Linden was the Director of this camp. Further deliberate indifference by Camp

Ramah and Linden can be seen by the history of improper and inappropriate sexual incident at

this Camp that did not lead to any changes to provide protection for the minors entrusted to this

Camp by their parents.

         9.       Further deliberate indifference by Camp Ramah and Linden are seen by their

attempt to cover up the incident involving Ms. Doe, and ensure that the parents of the Plaintiff

did not learn of the incident in a timely fashion.

         10.      This cover-up included Linden inshucting Plaintiff not to tell her parents that she

had been the victim ofsexual assault.

         I   l.   This cover-up included Camp Ramah and Linden permitting the perpetrator to

remain at camp and in    Plaintifls   presence.

         12.      This cover-up included failing to inform Ms. Doe's parents of this incident in the

hours and days after it occurred.

         13.      Camp Ramah and Linden should have supported Plaintiff and provided her with a

safe environment, including an environment free from her perpetrator, therapeutic counseling

and guidance. Instead, Ms. Doe fell victim to the Defendants' discriminatory bias toward

victims of gender-based sexual assault and as a result, in clear violation of her rights under Title

IX,   she suffered and continues   to suffer damages, including humiliation and emotional trauma.

         14.      The sexual assault which Plaintiff experienced at Camp Ramah, coupled with

Camp Ramah's and Linden's indifference towards Plaintiff and their protection of the

perpetrator, tenified Plaintiff and had an impact on her mental health and wellbeing.




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         15.     By allowing the perpetrator of these acts to remain in the educational facility in

the days and weeks after this quite obviously offensive and severe sexual assault incident, by

exercising substantial control over the Plaintiff and thereby ensuring that the Plaintiff would be

forced to be in the same area and location as the perpetrator, the Defendants ensured that Ms.

Doe would not be able to participate in, and have access to, the same educational activities and

opportunities as others at Camp Ramah.

         16.     Ms. Doe now brings these claims to entl the gender based violenue,

discrimination, harassment, and humiliation which she suffered, and which nther minor campers

are   likely to suffer, at Camp Ramah.

                                U.       JIJRISDICTION AND VENUE

          17.    The Court has subject matter jurisdiction over Plaintiff s federal law claims

pursuant to 28 U.S.C. $ 1331 and 28 U.S.C. $ 1367. In addition, Plaintiff brings her complaint

under federal diversity jurisdiction, 28 U.S.C. $ 1332, as (a) the parties are completely diverse in

citizenship: Plaintiff is, and at all relevant times has beeno a citizen of New Jersey, and

Defendants are citizens of New York; and (b) the amount in controversy exceeds $75,000.

          18.    Venue is proper in this district pursuant to 28 U.S.C. $ 1391(b).

                                             UI.    PARTIES

          19.     Plaintiff is a young female who resides in New Jersey. Plaintiff was   a    minor

when she attended Camp Ramah.

          20.    Defendant the National Ramah Commissiono Inc. ("Ramah Commission") is

located at 3080 Broadway, New York, New         York. The Ramah Commission directs       and

supervises the operations of a group of camps, including Camp Ramah in the Berkshires, which

further the educational and religious development of conservative Jewish youth.




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         21.    Defendant Camp Ramah in the Berkshires ("Camp Ramah"), located in Wingdale,

New York, is a residential summer camp for youths. Camp Ramah purports to educate children

in the traditions, history and values of Judaism and receives federal funding for various

educational programs. Camp Ramah touts itself to prospective families as a "vibrant summer

camp community, where children grow in a beautiful and safe setting, surrounded by lifeJong

friends and nurtured by spirited role models. . . camp is infused with the best traditions and

values of Conservative Judaism." (Emphasis added.)

         22.    Defendant Rabbi Ethan Linden ("Linden") is a New York resident and the

Director of Camp Ramah in the Berkshires. He is sued in his individual capacity.

                                    STATEMENT OF FACTS

    A.   Camp Ramah and Linden Fail to Provide a Safe Environment For Minor Campers

         23.    Camp Ramah in the Berkshires touts itself to prospective families as a "vibrant

summer camp community, where children grow in a beautiful and safe setting, surrounded by

life-long friends and nurtured by spirited role models. . . camp is infused with the best traditions

and values of Conservative Judaism." (Emphasis added.)

         24.    On or about July 7,2018, when attending Camp Ramah in the Berkshires,

Plaintift a minor   teenaged female at the time, was the victim of sexual assault by a male

teenaged camper, John Roe, which occurred while she was sleeping. Plaintiffawoke to find the

male camper, Mr. Roe, with his hands touching her on and around the skin of the Plaintiff     s


genital area and his fingers inside her genitals (the "sexual assault'o or the "incident").

         25.   The same day of the assault, the Defendants were provided notice of the sexual

assault against Ms. Doe.




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          26.   Plaintiff reported the incident to her bunk counselor, who immediately and

appropriately sent her complaint up the chain of command to the Rosh Eda (head of camp age

group).

          27.   On July 14, after Plaintiff had not heard anything from the Camp officials

concerning the incident, but rumors of the incident had spread throughout the Camp and among

the campers, Plaintiff sought to speak with her guidance counselor.

          28.   The guidance counselor, the very same day, set up a meeting between the Plaintiff

and the Director   of Camp Ramah in the Berkshires, Rahhi Ethan Linden,

          29.   During this meeting, Rabbi Ethan Linden insisted that he would keep all of this a

secret and that the camp would not tell Plaintitt's parents. Linden persuaded PlaintitTthat this

was the best course of action.

          30.   In fact, the following day was visiting day and Plaintiff s parents were at the

campl but nobody infonned    Plaintiff s parents about the incident.

          31.   Director Rabbi Ethan Linden did not inform Plaintiffls parents that she recently

had been sexually assaulted at Camp Ramah by a male camper.

          32.   During the following week, a friend of the Plaintiff at the camp went to Plaintiffls

Rosh Eda questioning why nothing had been done with respect to the incident and the hoy who

had sexually assaulted   Plaintiff. The Rosh Eda responded     - incorrectly and falsely- that since
Plaintiff and the boy assailant were both minorso nothing could be done.

          33.   Later that same week, Plaintiff   s   younger sister who also was attending Camp

Ramah began questioning Plaintiff about the incident and asking whether their parents knew

about what had occurred. Following this conversation with her sister, Plaintiff went to speak to




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Rabbi Ethan Linden on July 22,2018, and explained that she had to let her parents know about

the incident.

        34.      In response, Camp Director Rabbi Ethan Linden explained that the boy assailant

was being punished by staying in his bunk during activities and that he had been forced to speak

with his guidance counselor. Linden also told Plaintiff that if    she   told her parents, more people

would learn about it and campers would start gossiping about       it. Linden   attempted to shame

Plaintiff into keeping the fact that she has been sexually assaulted a secret. Plaintiff, however,

insisted that the Camp officials call her parents and let her speak to them.

        35.      On July 22,2018, Rabbi Ethan Linden and Plaintiffls guidance counselor placed a

call to Plaintiff s parents. The call began with an off topic request by Linden for additional

payment from the family so that Plaintiff and her younger sister could remain at Camp Ramah

for the second session.

        36.      Eventually, the Camp Ramah officials began to explain on the telephone that

there was a "little incident" that they wanted to let the family know about. Rabbi Linden sought

to downplay the severity and objective offense that had occurred and indicated to Plaintiff        s


parents that there was a "small problem" with their daughter. He explained that a boy touched

Plaintiff; but that "nothing really happened." This was a lie and a further attempt to cover up and

down-play the sexual assault and gender-based violence against Plaintiff. Quickly, Plaintifls

father demanded to speak to   Plaintiff. However, the Camp restricted the amount of time that

they allowed Plaintiff to speak to her father and then dismissed her from the office and sent her

back to her bunk so the Camp officials could continue the conversation with        Plaintiff s parents in

the absence of   Plaintiff. The guidance counselor    escorted Plaintiff back to her bunk, while

Plaintiff cried uncontrollably the entire way and continued to cry uncontrollably in her bunk.




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        37.    Camp Director Rabbi Ethan Linden explained to Plaintiff s father that Camp

Ramah did not believe this to be a big deal, and implored     Plaintiff s father to let the camp handle

it, and not file formal charges.

        38.     Plaintiffls father was not convinced and continued to state that the incident must

be reported to the appropriate authorities.   Plaintiff s father also demanded that Camp Ramah

take action and remove the boy assailant from the camp immediately.

        39.     Camp Director Linden refused to remove the boy assailant frurn uanrp and

insisted that the camp was handling it in their own way,

        40.     Eventually, Plaintiff was called to return   to Linden's office to speak with her

father and with Camp Director Rabbi Ethan Linden again.

        41.     Plaintiff was placed in a private room with a phone. However, the Camp Ramah

officials would not allow the Plaintiff to shut the room door and therefore, listened in on her

conversation even though she had requested privacy to speak with her parents.

        42.     During this follow up conversation, the Plaintiff and her parents were discussing

whether Plaintiff would attend a planned camp trip the following day, whether Camp Ramah

should file a police report and whether the family believed the boy assailant should remain at

camp.

        43.     Plaintiff and her family informed the Camp Ramah officials that Plaintiff would

go on the planned camp trip and wanted the camp to follow the regulations and laws that

required such an incident to be reported. They also requested that the camp remove the boy

assailant from the camp.

        44.     After Plaintiff finished her phone call with her parents, and her parents reported

(the decisions) on how the family wanted the camp to handle the incident and the boy assailant,




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Plaintiff was going to be driven by Camp Director Rabbi Ethan Linden to the area where the

entire camp was saying the final prayers for the Tish          B'Av holiday.

          45.     Prior to entering into the golf cart, Camp Director Rabbi Ethan Linden sought to

diffuse the situation and again downplay the incident and stated to Plaintiff, in sum or substance

that,   "I don't really think this    is that big of a deal, he fthe assailant] is just a homy little boy."

          46.     Upon entering the building where the entire camp was saying the final prayers for

Tish B'Av, many counselors and campers approached Plaintiff offering her support and

empathy. This further harmed Plaintiff emotionally as she began to understand this incident had

become common knowledge at the Camp.

          47.     In the following days, Camp Director Rabbi Ethan Linden called             Plaintifls

parents on multiple occasions.         Initially, Linden was urging the family not have the camp file

charges.

          48.     Howevero eventually, Camp Ramah did let the family know that they had

reported the incident to the authorities. One day later, Camp Director Rabbi Ethan Linden

contacted    Plaintifls   parents and recommended that they speak with the parents of the offending

boy. When Plaintiff s parents declined this invitation, Camp Director Rabbi Ethan Linden

stated,   "Off the record, if you plan on bringing any legal charges against the family, they have

already let me know they       will   sue you and   it will be a big legal mess."

          49.     Plaintifls   parents contacted the authorities concerning the sexual assault on their

minor daughter at Camp Ramah. Plaintiff s parents were told, in sum or substance, by local law

enforcement that this was not the first time the police had received such a report from Camp

Ramah and that sexual assault and gender based violence against minors was an ongoing




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problem at Camp Ramah in the Berkshires, which Defendant Camp Ramah had not taken any

response to cure.

       50.        Sometime thereafter, a police investigator was dispatched to Camp Ramah and

reported that the male camper who sexually assaulted Plaintiff had been attending the Camp a

full month after the assault. The police directed Camp Ramah to remove the male camper, but

again, Camp Ramah refused, thus continuing to make Plaintiff vulnerable to assault and

continuing to deprive her of the same educational opportunities of other campers, inuluding the

male assailant.

        51.       lndeed, it was only after the police investigator was dispatched a second time to

Camp Ramah that the otlbnding male camper was removed. Camp Ramah's decision to permit

the offending male camper to remain at Camp Ramah for approximately one month after the

sexual assault was reported caused significant emotional distress to Plaintiff.

        52.       The police investigation, which Camp Ramah and Linden repeatedly failed to

initiate and sought to avoid, led to the arrest of the male camper, on the charge of Forcible

Touching under the New York Penal Code $ 130.52, which provides, in relevant part:

        A person is guilty of forcible touching when such person intentionally, and for no
        legitimate purpose:

        1.   foroibly touches ths sexual or othor intimate parts of another person for the
             purpose ofdegrading or abusing such persono or for the purpose ofgratifying
             the actor's sexual desire;

        53.       A criminal case against the male camper was commenced in Family Court in

Poughkeepsie, New York

        54.       Once the summer camp term had concluded, Plaintiff and her parents met with

local law enforcement and were interviewed.




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        55.      In responding to this report of a sexual assault against Ms. Doe, the Defendants,

Camp Ramah and Linden, abandoned all rules of professional conduct and best practices, and by

their response, further jeopardized the safety and well-being of Plaintiff.

        56.      Despite having actual knowledge of the sexual assault of a minor camper, Camp

Ramah and Linden acted with deliberate indifference and failed to follow standard camp

protocol, as set forth by the American Camp Association, which requires, inter olia,that

incidents of sexual abuse be reported to the authorities promptly for investigation, that the

perpetrator be isolated or removed, and that the family of the victim be informed immediately.

        57.     The American Camp Association provides that a camp's priority is "to protect the

well-being of children in its care. This priority includes a camp's endeavor to manage and

minimize the risk of child abuse occurring 'on its watch' and to sensitively and appropriately

report and handle claims of abuse.o' See https ://www.acacamps.org/resource-

librarv/articles/chi                         I   ity-issues-revi sited When a camp suspects, or as here-

has actual knowledge that, a camper is the victim of abuse, the camp is required to report the

incident immediately to the authorities, to isolate and remove the alleged perpetrator, and contact

the family (or families) involved. See https://www.acacamps.org/resource-library/articles/child-

sexual -abuse-liability-issues-revi sited.

        58.     Rather than follow the American Camp Association standard protocol (the

"Protocol"), Linden attempted to cover up the incident. During a meeting with the victim, Rabbi

Linden instructed Plaintiff not to report the incident to her parents.

        59.     In a showing of discrimination against this minor female, Linden attempted to

convince the victim that the assault which she endured, criminally defined as when another

"forcibly touches the sexual or other intimate parts of another person for the purpose of




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degrading or abusing such person, or for the purpose of gratiSing the actor's sexual desire" was

no big deal. In a setting where Defendant Camp Ramah and Defendant Rabbi Linden exercised

substantial control over the Plaintiff and the male assailant, Defendant Linden sought to excuse

the objectively offensive conduct by telling the Plaintiff that the male camper who assaulted her

was'Just some horny boy."

       60.         By failing to follow standard protocol and by allowing the male assailant to

remain at   Lhc   Camp for an cntirc rnunth after the sexual assault on Plaintiff, Defcndants left

Plaintiff potentially vrrlnerahle to another assault, and deprived Plaintiff of educational

opportunities that other individuals at Camp Ramah had access to, including the male assailant.

Because of the extreme humiliationo embanassment and dread Plaintiff felt in the days and

weeks following the sexual assault, and the necessity of avoiding her assailant who remained at

the Camp, Plaintiff did not attend numerous educational classes that she previously had attended

at the Camp prior to the sexual assault, including Jewish cultural and heritage studies, sewing

class, cooking class, volleyball training and swim instruction. Plaintiff, moreover, experienced a

depression following the sexual assault and no longer was able to enjoy many of the activities

she previously had enjoyed at the Camp.

        61.        Camp Ramah and T,inden made the deliberate decision to do nothing to protect

Ms. Doe and acted with deliberate indifference to known acts of discrimination, retaliation,

sexual assault, gender-based violence, and harassment against Ms. Doe. Camp Ramah and

Linden's do-nothing approach condoned further discrimination and harassment against Ms. Doe.

        62.        In sum, Defendants grossly neglected their duties to provide a safe environment

for campers and supervise campers, for whom they exercised substantial control of the campers'

activities and movements every day, failed to take reasonable measures to protect its campers




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from a history of inappropriate and improper sexual incidents and gender based violence that had

occurred at Camp Ramah and acted with deliberate indifference in responding to the sexual

assault suffered by Plaintiff in the summer 2018.

           63.       The Ramah Commission was put on notice of the sexual assault of Plaintiff no

later than January 2019, and was made aware, or should have been made aware, by Camp Ramah

at an earlier date, but upon information and belief, also has failed to take corrective action.

Indeed, the Ramah Commission and Camp Ramah have allowed Defendant Linden to remain the

Director of Camp Ramah. Camp Ramah, moreover, falsely touts on its website that "Ethan

[Linden] believes that camp should be a safe, fun and ultimately transformative experience for

campers," see https://www.ramahberkshires.org/staft,          when it knows, or reasonably should

know, that Defendant Linden has blatantly disregarded the safety of minor campers in his care

and has fostered an environment where sexual assault on minors by minors is tolerated.

           64.       Defendants have refused to take responsibility or to take any type of preventative

or corrective action, instead choosing to allow and propel sexual assault against minors.

Defendants have acted with deliberate indifference to these known acts of gender-based violence

and discrimination.




                                        IV.    CLAIMS FOR RELIEF'

                                              COUNT ONE
                          Violation of Title IX -20 U.S.C. $ 1681(a)
 (Discrimination in Violation of Title IX of the Education Amendments  - Disparate Treatment)
                            (Against The Ramah Commission and Camp Ramah)

           65.       Plaintiffhereby re-alleges and incorporates by reference Paragraphs I through 64

as   if fully   set forth herein

           66.       The Ramah Commission and Camp Ramah are Title         IX funding recipients


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       67.     Plaintiff attended Camp Ramah in the Berkshires in July and August 2018.

       68.     While attending Camp Ramah in the Berkshires on or around July 7, 2018, Jane

Doe was subjected to sexual assault by a male camper, John Roe.

       69.     On that same day, on or around July 7,2018, fearing for her safety, Jane Doe

reported John Roe's abusive acts of sexual assault to Camp Ramah and Rabbi Linden.

       70.     In response to learning that Plaintiff had been subjected to sexual assault and had

reported this violence to Camp Ramah and Rabbi Linden in accordattce with her rights under

Title IX, Linden instnrcted her to keep quiet and not inform her parents.

       71.     Moreover, in violation of the standard Protocol, Camp Ramah failed to report the

sexual assault to law enforcement, failed to inform   Plaintiff s parents, and failed to remove the

perpetrator from camp premises. Instead, Camp Ramah permitted the perpetrator to remain at

camp for one month following the assault, when law enforcement contacted by Plaintiff s parents

ordered his removal from Camp Ramah.

       72.     By requesting Jane Doe's silence after she disclosed that she was a victim of

sexual violence and/or failing to follow the standard Protocol, Defendants violated her right to an

educational environment free from sex discrimination under Title IX.

       73.     Educational institutions, inclrrding fhe Ramah Commission and Camp Ramah, are

liable under Title IX for gender discrimination in their programs and activities and are thus not

permiffed to "[s]ubject any person to separate or different rules of behavior, sanctions, or other

treatment" on the basis of sex.

       74.     Camp Ramah subjected Ms. Doe to different rules of behavior and different

sanctions on the basis of her sex, because she reported that she was a victim of gender-based

violence and sexual assault.




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           75.       As a result of the meeting with Linden, Ms. Doe faced discrimination so severe,

pervasive, and objectively offensive that Plaintiff was deprived of access to educational

opportunities or benefits provided by Camp Ramah and its educational program, and the

response of Linden amplified these effects and further deprived Plaintiff of educational

opportunities.

          76.        As a direct and proximate result   of   Camp Ramah's unlawful acts and its

violations of Title IX, Plaintiff was denied or limited in her ability to participate in or benefit

from Camp Ramah's educational programs or activities on the basis of sex.

          77.        As a direct and proximate result, Plaintiffcontinues to suffor damages, including

but not limited to, lost educational benefits and opportunities, emotional pain and trauma, and the

loss of enjoyment of her life.

                                         COUNT TWO
                           Violation of Title IX -20 U.S.C. $ f681(a)
 (Discrimination in Violation of Title IX of the Education Amendments - Hostile Environment)
                             (Against The Ramah Commission and Camp Ramah)


          78.        Plaintiffhereby re-alleges and incorporates by reference Paragraphs I through 77

as   if fully   set forth herein.

          79.        The Ramah Commission and Camp Ramah are Title          IX funding recipients.

          80.        The response of the Ramah Commission and Camp Ramah to Plaintiff         s   report   of
sexual assault, including directing Plaintiff to keep quiet about the assault, failing to follow the

standard Protocol, failing to inform law enforcement, permitting the perpetrator of the sexual

assault to remain at Camp Ramah, and failing to take other corrective action, including removing

Linden as Director of Camp Ramah, has amplified the hostile environment at Camp Ramah and

further deprived Plaintiff of educational opportunities.




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            81.     Ms. Doe was subjected to sexual violence at Camp Ramah on the basis of her

gender. Ms. Doe reported these events to the appropriate persons with the power to remedy the

gender-based discrimination and violence that she faced, but Camp Ramah took no action.

            82.     As a direct and proximate result, Plaintiff continues to suffer damages, including

but not limited to, lost educational benefits and opportunities, emotional pain and traumao and the

loss of enjoyment of her life.

                                               COUNT THREE
                                  Violation of Title IX - 20 U.S.C. $ 1681(a)
                     (Re;taliation in Vinlation of Title IX of the Education Amendments)
                              (Against the Ramah Committee and Camp Ramah)

            83.      Plaintiffhereby re-alleges and incorporates by reference Paragraphs               1   through 82

as   if fully   set forth herein.

            84.      Plaintiff s report of sexual and gender based violence constituted protected

activity under I itle lX.

            85.      The Ramah Committee and Camp Ramah were informed and had knowledge that

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            86.      The Ramah Commission and/or Camp Ramah took adverse action against

Plaintiff by (i) instructing Plaintiff to keep quiet about her sexual assault; (ii) failing to report the

soxual assault to law enforoement;         (iii) failing to follow    standard Protocol; (iv) failing to remove

the perpetrator of the sexual assault from Camp Ramah; and (v) failing to remove Linden as

Director of Camp Ramah, and thus, has caused Plaintiff to suffer further harassment and ridicule,

as   well   as emotional trauma and lost educational opportunities.


            87.      Because Plaintiff engaged in the statutorily protected activity of reporting gender-

based violence perpetrated against her, the Ramah Commission and Camp Ramah took adverse




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actions against her in instructing her to keep silent and/or failing to following the standard

Protocol and/or failing to remove Linden as Director of Camp Ramah.

          88.        Ms. Doe informed Camp Ramah of the gender discrimination and retaliation that

Ms. Doe faced, but the Defendants acted with deliberate indifference to these illegal acts.

          89.        These discriminatory and illegal actions send a message to Plaintiff and all

members of Camp Ramah that students           will   face undesirable consequences for exercising their

rights under Title IX and taking measures to protect themselves from gender-based violence.

          90.        Ms. Doe suffered an adverse action because of her protected activity. Had she not

informed Defendants of her sexual assault, she would not have been instructed and shamed by

Linden to keep quiet and that this was just "some horny boy", and she would not have suffered

the feelings of ongoing fear of further sexual assault, abandonment, worthlessness and

humiliation.

          91.        As a direct and proximate cause of the Ramah Committee and Camp Ramah's

unlawful acts and its violations of Title IX, Plaintiff continues to suffer damages, including but

not limited to lost educational benefits and opportunities and emotional pain and trauma.

                                             COUNT THREE
                                         Violation of the NYSHRL
                                           (Against Camp Ramah)
          92.        Plaintiffhereby re-alleges and incorporates by reference Paragraphs    1   through 91

as   if fully   set forth herein.

          93.        Camp Ramah is a provider of public accommodations within the meaning of the

NYSHRL.

          94.        Plaintiff was denied full and equal enjoyment of an educational opportunity while

attending Camp Ramah on account of gender based violence, sexual assault, and sex

discrimination. This occurred when Camp Ramah perpetuated an unsafe and hostile



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environment which fostered gender based violence and which failed to investigate Plaintiff          s


complaints of gender based violence, failed to take corrective action, failed to report Plaintiff       s


sexual assault to law enforcement, failed to remove the perpetrator of the sexual assault promptly

from the camp premises, and instructed Plaintiff to keep silent and not inform her parents that

she had been sexually assaulted.

          95.       As a result of Camp Ramah's intentional and willful refusal to investigate

Plaintiff   s complaints about gender based violence and sexual assault,   its intentional and willful

attempt to cover up Plaintiff s sexual assault by instructing Plaintiff not to tell her parents and

failing to inform law enforcement, and by failing to remove Mr. Roe promptly from the camp

premises in accordance the Protocol, Camp Ramah has caused Plaintiff to suffer and continue to

suffer harm and emotional damages.




                                            COUNT FOUR
                                            NEGLIGENCE
                                         (Against All Defendants)

          96.        Plaintiffhereby re-alleges and incorporates by reference Paragraphs   1   through 95

as   if fully   set forth herein.

          97,        Plaintiff attended Camp Ramah in July and August 2018.

          98.        Defendants owed Plaintiffa duty of care, including providing a safe environment

for minor campers and providing supervision of minor campers.

           99.       Defendants breached their duty of care by failing to provide a safe environment

for minors and failing to properly supervise minors attending Camp Ramah.

            100.     Defendants knew Plaintiffwas sexually assaulted and failed to take corrective

action and otherwise make the environment safe. Instead, Defendants breached their duty of care




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by punishing Plaintiff when she reported that she had been a victim of sexual violence at Camp

Ramah at the hands of a minor male camper and reported the incident to Camp Ramah and

Linden so that they would protect her safety and rights under Title IX.

        I 01   .   Defendants further breached their duty of care by instructing Plaintiff to keep

quiet, and not tell her parents, about her assault and telling her that her assailant was'Just some

horny boy," failing to follow the Protocol, failing to report Mr. Roe's behavior to law

enforcement, and permitting Mr. Roe to remain at camp, and failing to remove Linder as the

Director of Camp Ramah, all of which foreseeably caused Ms. Doe further harm.

        102.       Camp Ramah, which accepts financial dues from the families of campers in

exchange for their attendance at the camp, and which promises to enrich and protect its members

through, inter alia, maintaining safe facilities for children and facilitating the development of

healthy relationships, owed Plaintiff a duty of care.

        103.       Camp Ramah breached its duty of care toward Plaintiff and her family by failing

to uphold its promise to keep its minor campers safe and to educate campers regarding sexual

assault. Camp Ramah and Linden failed to enforce the policies, practices, and promises made to

its families and campers pertaining to non-discrimination, reasonable safety and the handling of

misconduct. It failed to do so causing foreseeable harm to Plaintiff.

        104.       Camp Ramah and the Ramah Committee breached their duty of care toward

Plaintiff and her family by failing to investigate, discipline, reprimand, or otherwise address

conduct that harmed Plaintiff and violated the Protocol.

        105.       The Protocol sets forth that a camp's priority is "to protect the well-being   of

children in its care. This priority includes a camp's endeavor to manage and minimizethe risk of

child abuse occurring 'on its watch' and to sensitively and appropriately report and handle claims




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of abuse.o' See https://www.acacamps.org/resource-library/articles/child-sexual-abuse-liability-

issues-revisited. When a camp suspects, or as here- has actual knowledge that, a camper is the

victim of abuse, the camp is required to report the incident immediately to the authorities, to

isolate and remove the alleged perpetrator, and contact the family (or families) involved. See

https://www.acacamps.org/resource-library/articles/child-sexual-abuse-liability-issues-revisited.

         106.       Plaintiff brings each and every claim permissible under New York law for her

injuries and to recover for all special damages, economio losscs, medical expenses, necessary

expenses, pain and suffering, and all compensatory, special, actual, general and punitive

damages permissible under New York law, including but not limited to: personal injuries; past,

present and future pain and suflbring; past, present and tirture medical expenses; disability;

mental anguish; loss of the capacity for the enjoyment of life; incidental expenses; permanent

injuries; and consequential damages to be proven at trial.

         107   .    As a direct and proximate result of this negligence, Plaintiff suffered and

continues to suffer humiliation and emotional distress.

                                              COUNT FIVE
                                    Negligent Security and Supervision
                                         (Against All Defendants)

         108.        Plaintiff hereby re-alleges and incorporates by reference Paragraphs 1 thrnrrgh

107 as   if fully   set forth herein.

         109.       Defendants had a duty to take reasonable steps to protect   Plaintifl   a child in   their

care, from foreseeable harm which she was under the supervision, and in the care, custody and

control, of Defendants.

         110.       Defendant Linden negligently supervised Plaintiff and the minor campers

entrusted in his care at Camp Ramah.




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        l1l.     Camp Ramah and the Ramah Committee negligently trained and supervised

Linden and negligently retained him in the role of Director at Camp Ramah, even after Ms. Doe

had made complaints to Camp Ramah and the Ramah Committee about Linden's conduct.

        ll2.     Defendants were aware that Plaintiffhad been subject to sexual assault by Mr.

Roe at Camp Ramah.

        113.     It was foreseeable that instructing Plaintiffto remain silent about the sexual

assault, permitting Mr. Roe to remain at Camp Ramah, thus making Plaintiff vulnerable to future

assault, and failing to inform   Plaintiff s parents and the authorities about the sexual assault was

discriminatory and illegal and would result in considerable emotional harm to Plaintiff.

Furthermore, it was foreseeable that failing to address and seek treatment for the sexual assault

on Plaintiff and permitting Mr. Roe to remain at Camp Ramah would lead to considerable

emotional harm to Plaintiff.

        ll4.      Defendants committed intentional or negligent acts or omissions which resulted

in Plaintiff suffering physical, psychological and other injuries and conditions as a direct and

proximate result of conduct which constitutes a sexual offense committed against a child less

than eighteen years of age, as defined in Article 130 of the New York Penal Law.

       115.      It is hereby alleged pursuant to C.P.L.R. $ 1603 that the foregoing cause of action

is exempt from the operation of C.P.L.R. $ 1602, including but not limited to C.P.L.R. $ 1602(7).

       1   16.   As a direct and proximate result of this negligence, Plaintiff suffered and

continues to suffer humiliation and emotional distress.

                                   COUNT FIVE
                   INTENTIONAL INFLICTION OF EMOTION DISTRESS
                                  (Against Camp Ramah and Linden)




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         ll7.       Plaintiffhereby re-alleges and incorporates by reference Paragraphs I through

116 as   if fully   set forth herein.

         I18.       As described above, (i) the conduct of Camp Ramah and Linden in failing to

follow the Protocol when informed of the sexual assault against Plaintiff, and (ii) Linden's

attempt to cover up and hush the sexual assault, including (a) directing Plaintiffnot to inform her

parents that she was sexually assaulted at Camp Ramah, (b) shamefully downplaying the

seriousness of the sexual assault by telltng Plaintiff that this was "just some horny boy", and (c)

telling Plaintifls mother several weeks after the sexual assault that there was "a small prnhlem"

with her daughter, all of which occurred at     a   time of Plaintiff s great vulnerability, was

intentional and reckless and in knowing disregard of Plaintiff        s   rights.

          I19.      In addition, Camp Ramah and Linden deliberately failed to remove the sexual

perpetrator from Camp Ramah, even when initially ordered to do so by law enforcement. It was

only after a police officer came to Camp Ramah to investigate the crime that the offender was

sent home from Camp Ramah.

          120.      As described above, the conduct of Camp Ramah and Linden was extreme and

outrageous, and beyond the bounds ofdecency.

          121.      The Defendants were intentional and reckless in the acts and omissions that

ignored Plaintiff s request for assistance.

          122.      The Defendants either intended to cause or disregarded the substantial probability

of causing Plaintiff severe emotional distress.

          123.      The conduct of Camp Ramah and Linden caused severe emotional distress to

Plaintiff.




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          124.      Plaintiff brings each and every claim permissible under New York law for her

injuries and to recover for all special damages, economic losses, medical expenses, necessary

expenses, pain and suffering, and all compensatory, special, actual, general and punitive

damages permissible under New York law, including but not limited to: personal injuries; past,

present and future pain and suffering; past, present and future medical expenses; disability;

mental anguish; loss of the capacity for the enjoyment of life; incidental expenses; permanent

injuries; and consequential damages to be proven at trial.

         125.       As a direct and proximate result of the conduct of Camp Ramah and Linden,

Plaintiff did suffer severe emotional distress.

                                        COUNT SIX
                        NEGLIGENT INFLICTION OF EMOTION DISTRESS
                                        (Against Camp Ramah and Linden)


         126.       Plaintiffhereby re-alleges and incorporates by reference Paragraphs I through

125 as   if fully   set forth herein.

         127.       Camp Ramah and Linden owed Plaintiff, as a minor camper in their custody,

control and care in July and August 2018, a duty of care to supervise and provide a safe

environment. Camp Ramah and Linden, moreover, owed Plaintiff a duty of care to follow the

Protocol.

         128.       Camp Ramah and Linden breached their duty of care to Plaintiff in failing to

follow the Protocol when informed of the sexual assault against Plaintiff. In addition, Linden

breached his duty of care to Plaintiff by his attempt to cover up and hush the sexual assaulto

including (a) directing Plaintiff not to inform her parents that she was sexually assaulted at Camp

Ramah, (b) shamefully downplaying the seriousness of the sexual assault by telling Plaintiff that

this was "just some horny boy", and (c) telling PlaintifPs mother several weeks after the sexual



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assault that there was just "a small problem" with her daughter, all of which occurred at a time    of

Plaintiff s great vulnerability, was intentional and reckless and in knowing disregard of

Plaintiff s rights.

         129.       As described above, the conduct of Camp Ramah and Linden was extreme and

outrageous, and beyondthe bounds ofdecency.

         130.       The conduct of Camp Ramah and Linden caused severe emotional distress to

Plaintiff,

         131.       The Defendants were intentional and reckless in the acts and omissions that

ignored Plaintiff     s request   for assistance.

         132.       As a direct and proximate result of the conduct of Camp Ramah and Linden,

Plaintiff did suffer severe emotional distress.

                                             COUNT SEVEN
                                         BREACII OF CONTRACT
                                          (Against All Defendants)

         133.       Plaintiffhereby re-alleges and incorporates by reference Paragraphs I through

132 as   if fully   set forth herein.

         134.       Plaintiff attended Camp Ramah in July and August 2018.

         135.       Prior to attending Camp Ramah, Defendants entered a contract with the parents   of

the Plaintiff, in which the Plaintiffwas an intended third-party beneficiary.

         136.       In the agreement with the parents, the Camp had agreed to provide a safe

environment for minor campers and supervise minor campers.

         137.       Camp Ramah, which requires the payment of financial dues, consideration, from

the families of campers in exchange for their attendance at the camp, makes promises that




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include to enrich and protect Plaintiff through, inter alia,maintaining safe facilities for children

and facilitating the development of healthy relationships.

        138.   Further, Defendants agreed to keep the parents of the Plaintiff informed of all

relevant information concerning their minor daughter while at Camp Ramah.

        139.   Defendants breached this agreement, in which Plaintiffwas an intended third-

party beneficiary, by failing to provide a safe environment for minors and failing to properly

supervise minorso including Plaintiff, attending Camp Ramah.

        140.   Defendants further breached their agreement, in which Plaintiffwas an intended

third-party beneficiary, by not informing the parents of the sexual assault suffered by their minor

daughter in the hourso days and weeks after it occurred, despite having actual knowledge of the

incident.

        l4l.   Defendants further breached their agreement, in which Plaintiff was a third-party

beneficiary, by punishing Plaintiffwhen she reported that she had been a victim of sexual

violence at Camp Ramah at the hands of a minor male camper and reported the incident to Camp

Ramah and Linden so that they would protect her safety and rights.

       142.    Defendants further breached their agreement, for which Plaintiff was a third-party

beneficiary, by instructing Plaintiff to keep quiet, and not tell her parents, about her assault and

telling her that her assailant was "just some horny boy," failing to follow the Protocol, failing to

report Mr. Roe's behavior to law enforcement, and permitting Mr. Roe to remain at camp, and

failing to remove Linden   as the   Director of Camp Ramah, all of which arcpart and parcel of

providing a safe environment for Ms. Doe and keeping her parents informed of all relevant and

important information concerning her time at Camp Ramah.




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         143.          Plaintiff and her parents relied on the good faith of Defendant and the agreements

and promises made by the Defendants when making a decision about which camp the                                Plaintiff

would attend.

         144.          The Defendants breached their agreement, in which Plaintiffwas an intended

third-party beneficiary, with Plaintiff and her parents.

         145.          As a direct and proximate result of the breach of this agreement, Plaintiff and her

parents suffered harm and damages in an amount to be determined by                        a   jury at trial.

                                                  COUNT EIGHT
                                           PROMISSORY ESTOPPEL
                                              (Against All Defendants
                                In the alternative to the Breach of Contract Claim)

         146.          Plaintiffhereby re-alleges and incorporates by reference Paragraphs I through

145 as   if fully      set forth herein.

         147.          Plaintiff attended Camp Ramah in July and August 2018.

         148.          Prior to attending Camp Ramah, Defendants had promised to Plaintiff and her

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campers.

         149.          Camp Ramah, which accepts financial dues from the families of campers in

exchange for thcir attcndancc at thc camp, promiscd to cnrich and protcct Plaintiff by, inter alia,

maintaining safe facilities for children and facilitating the development of healthy relationships.

         150.          Defendants broke this promise by failing to provide a safe environment for minors

and failing to properly supervise minors, including               Plaintiff attending Camp Ramah.

          1   51   .   Further, Defendants promised to keep the parents of the Plaintiff informed of all

relevant information concerning their minor daughter while at Camp Ramah.




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        152.    Defendants broke their second promise by not informing the parents of the sexual

assault suffered by their minor daughter in the hours, days and weeks after it occurred, despite

having actual knowledge of the incident.

        153.    Defendants further broke this promise by punishing Plaintiff when she reported

that she had been a victim of sexual violence at Camp Ramah at the hands of a minor male

camper and reported the incident to Camp Ramah and Linden so that they would protect her

safety and rights.

        154.    Defendants further broke their promises to Plaintiff and her parents by instructing

Plaintiff to keep quiet, and not tell her parents, about her assault and telling her that her assailant

was "just some horny boy," failing to follow the Protocol, failing to report Mr. Roe's behavior to

law enforcement, and permitting Mr. Roe to remain at camp, and failing to remove Linden as the

Director of Camp Ramah, all of which are part and parcel of providing a safe environment for

Ms. Doe and keeping her parents informed of all relevant and important information concerning

her time at Camp Ramah.

        155.   Plaintiff and her parents relied on the promises of the Defendants when making a

decision about which camp the Plaintiff would attend.

        156.   The Defendants broke their promises to Plaintiff and her parents.

        157.   Defendant should be estopped from denying that such a promise was made and is

enforceable.

        158.   As a direct and proximate result of the breach of these promises, Plaintiff suffered

harm and damages in an amount to be determined by        a   jury attrial.




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                                     DEMAND FOR RELIEF'

WHEREFORE, the Plaintiff requests that this Court:

               A.      Issue a Declaratory Judgment against the Defendants Camp Ramah and

the Ramah Commission that they violated Title       IX and applicable laws in their conduct toward

Plaintiff;

               B.      Issue an Order and Injunction directing the Defendants Camp Ramah and

the Ramah Commission to remedy their policies and practices to comply with Title        IX and the

Protocol;

               C.      Award Plaintiff economic and consequential damages for harm caused by

Defendants Camp Ramah and the Ramah Commission's discriminatory and retaliatory conduct

and harassment in violation of Title   IX   and the Protocol, in an amount to be proven at   trial;

               D.      Award Plaintiffcompensatory damages for pain and suffering as it relates

to Defendants' Camp Ramah and the Ramah Commission's discriminatory conduct and

harassment in violation of Title   IX and the Protocol in an amount to be proven at trial;

               E.      Award Plaintiff damages for Defendants Camp Ramah and the Ramah

Commission's willful or wanton negligence, or recklessness, or conscious disregard of Plaintiff       s


legal rights under Title IX;

               F.      Award Plaintiff damages for Camp Ramah and Linden's negligence,

intentional infliction of emotional distress and/or negligent infliction of emotional distress;

               G.      Award Plaintiffdamages for Defendants' negligent security and

supervision;

               H.      Award Plaintiffdamages for Defendants' breach of Contract, or in the

alternative, damages pursuant to the claim of promissory estoppel;




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               I.        Award Plaintiffpunitive damages due to the Defendants' entire want of

care that would raise the presumption of conscious indifference to consequences. The

Defendantso conduct involved malice, oppression, insult, wanton disregard, and/or reckless

disregard of Plaintiff   s   rights. Punitive damages are needed to protect the public from similar

acts and deter the defendant going forward;

               J.        Award Plaintiffreasonable afforneys' fees and costs expended in litigating

this matter; and

               K.        Award to Plaintiffsuch other relief as is deemed just and proper by this

Court.

                                             JI]RY DEMAND

               Plaintiff demands atrial by jury of all issues so triable.

Dated          New York, New York
               May 4,2022                                        Wylie Stecklow


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